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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           OCALA DIVISION

 UNITED STATES OF AMERICA

 v.                                          CASE NO. 5:17-cr-2-Oc-10PRL

 BRITTANY TAYLOR FEKAY


      NOTICE OF MAXIMUM PENALTIES, ELEMENTS OF OFFENSE,
       PERSONALIZATION OF ELEMENTS AND FACTUAL BASIS

        The United States of America, by A. Lee Bentley, III, United States

 Attorney for the Middle District of Florida, hereby files this Notice of

 Maximum Penalties, Elements of Offense, Personalization of Elements and

 Factual Basis, stating as follows:

                           ESSENTIAL ELEMENTS

        The essential elements of a violation of 18 U.S.C. § 641, Theft of

 Government Funds, as charged in Count One of the indictment, are as

 follows:

        First:       The money described in the Indictment belonged to the
                     United States;
        Second:      The Defendant embezzled, stole, or knowingly converted
                     the money to her own use or to someone else’s use;
        Third:       The Defendant knowingly and willfully intended to
                     deprive the United States of the use or benefit of the
                     money; and
        Fourth:      The money had a value greater than $1,000.
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       The essential elements of a violation of 18 U.S.C. § 1001, False

 Statement to a Federal Agent, as charged in Count Two of the indictment, are

 as follows:

       First:          The Defendant made the statement, as charged;
       Second:         The statement was false;
       Third:          The falsity concerned a material matter;
       Fourth:         The Defendant acted willfully, knowing that the statement
                       was false; and
       Fifth:          The false statement was made or used for a matter within
                       the jurisdiction of a department or agency of the United
                       States.
                                    PENALTY

       Count One of the Indictment carries a maximum sentence of ten years’

 imprisonment, a maximum fine of up to $250,000, or twice the gross gain

 caused by the offense, or twice the gross loss caused by the offense, whichever

 is greater, a maximum term of supervised release of 3 years, and a special

 assessment of $100.

       Count Two of the Indictment carries a maximum sentence of five years’

 imprisonment, a maximum fine of up to $250,000, or twice the gross gain

 caused by the offense, or twice the gross loss caused by the offense, whichever

 is greater, a maximum term of supervised release of 3 years, and a special

 assessment of $100.




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        Upon conviction, a defendant who is not a United States citizen may be

 removed from the United States, denied citizenship, and denied admission to

 the United States in the future.

                                    FORFEITURE

        Upon conviction of a violation of 18 U.S.C. § 641, the defendant shall

 forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

 U.S.C. § 2461(c), all of her interest in any property constituting or derived

 from proceeds obtained directly or indirectly as a result of said violation,

 including, but not limited to, a money judgment in the amount of $23,808.

        If any of the property described above, as a result of any act or omission

 of the defendant cannot be located upon the exercise of due diligence; has

 been transferred or sold to, or deposited with, a third party; has been placed

 beyond the jurisdiction of the court; has been substantially diminished in

 value; or has been commingled with other property which cannot be divided

 without difficulty, the United States shall be entitled to forfeiture of substitute

 property under the provisions of 21 U.S.C. § 853(p), as incorporated by 28

 U.S.C. § 2461(c).




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                    PERSONALIZATION OF ELEMENTS


       Count One:

       1.     Do you admit that, beginning in or about April 2014, and

 continuing through in or about July 2016, in the Middle District of Florida,

 that you embezzled, stole, or knowingly converted money to your own use or

 to someone else’s use?

       2.     Do you admit that the money that you embezzled, stole, or

 knowingly converted to your own use consisted of Social Security benefits?

       3.     Do you admit that these benefit payments were the property of

 the Social Security Administration, an agency of the United States?

       4.     Do you admit that you knowingly and willfully intended to

 deprive the United States of the use or benefit of that money?

       5.     Do you admit that the amount of money taken exceeded $1,000?

       Count Two:

       1.     Do you admit that you made the statement described in the

 Indictment on or about August 4, 2016, within the Middle District of Florida?

       2.     Do you admit that the statement was false and concerned a

 material matter?

       3.     Do you admit that you made the statement willingly, knowing it

 to be false at the time that you made it?



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       4.     Do you admit that the false statement was made or used for a

 matter within the jurisdiction of a department or agency of the United States,

 namely, the Social Security Administration?

                               FACTUAL BASIS

       On February 5, 2014, Brittany Taylor Fekay (Fekay) filed a survivor’s

 Social Security benefit application on behalf of her minor daughter, A.C., and

 also applied to serve as her representative payee. As part of her application,

 Fekay stated that she was the primary caretaker for A.C. and would use any

 money she received solely for A.C.’s benefit. The Social Security

 Administration (SSA) approved the benefit application and began issuing

 Fekay recurring monthly payments on A.C.'s behalf. The agency continued

 paying A.C.'s monthly benefits to Fekay through June 2016, when SSA staff

 suspended benefits payments pending the resolution of a fraud investigation.

       In early 2016, SSA learned that A.C. resided with and was solely

 supported by her paternal grandparents rather than Fekay. In August 2016,

 Fekay submitted a written expense statement to SSA in which she knowingly

 misrepresented herself as the primary provider for A.C. In an interview,

 Fekay admitted that her daughter A.C. has resided with her grandparents for

 most of her life, and that she has instead used the overwhelming majority of

 A.C.’s benefits for her own personal expenses. She also confessed to




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 previously providing false information to SSA staff regarding her use of A.C.’s

 benefits in August 2016. Fekay fraudulently misused a total of $23,808 in SSA

 benefits intended for A.C.’s benefit from April 2014 through June 2016.




                                              Respectfully submitted,

                                              A. LEE BENTLEY, III
                                              United States Attorney


                                    By:       /s/ William S. Hamilton
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                         CERTIFICATE OF SERVICE


        I hereby certify that on March 16, 2017, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system, which

 will send a notice of electronic filing to the following:

               Mary A. Mills, Esquire

        I hereby certify that on March 16, 2017, a true and correct copy of the

 foregoing document and the notice of electronic filing were sent by United

 States Mail to the following non-CM/ECF participant(s):

               Not Applicable



                                              /s/ William S. Hamilton
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